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               EXHIBIT 1
                                                                                                    Case 2:19-cv-05398-DLR Document 74-2 Filed 09/21/20 Page 2 of 3



                                                                                              1   Michael Zoldan; AZ Bar No. 028128
                                                                                                  Jason Barrat; AZ Bar No. 029086
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                                                                                              6
                                                                                                  Attorneys for Plaintiff
                                                                                              7
                                                                                              8
                                                                                                                            UNITED STATES DISTRICT COURT
                                                                                              9
                                                                                             10                                     DISTRICT OF ARIZONA

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ZOLDAN LAW GROUP, PLLC
                         14500 N. Northsig ht Blvd. Suite 133 Scot tsdal e, Arizona 852 60




                                                                                                  Shannon Truong, an Arizona resident;                Case No. 2:19-CV-05398-DLR
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12                        Plaintiff,
                                                                                             13
                                                                                                         v.
                                                                                             14
                                                                                                  Garden View Townhomes, LLC, an                    DECLARATION OF SHANNON
                                                                                             15   Arizona company; Franciszek Janowiak,                    TRUONG
                                                                                                  an Arizona resident; and Elzbieta
                                                                                             16
                                                                                                  Janowiak, an Arizona resident;
                                                                                             17
                                                                                             18                                                 (Assigned to the Hon. Douglas L. Rayes)
                                                                                                                       Defendants.
                                                                                             19
                                                                                             20          1.     I am the Plaintiff in the above-captioned action. I am over the age of twenty-
                                                                                             21   one years old and am competent to testify regarding the facts set forth herein, as they are
                                                                                             22
                                                                                                  based on my personal knowledge.
                                                                                             23
                                                                                                         2.     I declare under penalty of perjury that the foregoing is true and correct to the
                                                                                             24
                                                                                             25   best of my knowledge.
                                                                                             26          3.     I am known by a few names which are my Chinese name and my maiden
                                                                                             27
                                                                                                  names. They include Shannon Truong, Shannon Gana, Shannon Wu, and Mai. I also go
                                                                                             28
                                                                                                  by a combination of these names.
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                                                                                              1          4.     I worked for Defendants between May 1, 2015 through September 20, 2019.
                                                                                              2
                                                                                                         5.     I was terminated on September 20, 2019.
                                                                                              3
                                                                                                         6.     I received no monetary wages for work I performed for Defendants.
                                                                                              4
                                                                                              5          7.     I signed the five documents in Exhibit 4 titled “Independent Contractor

                                                                                              6   Agreement.”
                                                                                              7
                                                                                                         8.     I would communicate multiple times per day through text message with Mr.
                                                                                              8
                                                                                                  Janowiak and multiple tenants.
                                                                                              9
                                                                                             10          9.     I lost my phone at the beginning of litigation and therefore my text messages
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                                                                                             11   were lost with it.
                             Tel & Fax: 480.442.3410 – mzoldan@zol d angroup.com




                                                                                             12
                                                                                                         10.    Some of my job duties included collecting rent, accepting rental applications,
                                                                                             13
                                                                                                  showing units, watching for general safety of the complex, daily pool duties, unlocking the
                                                                                             14
                                                                                             15   pool at open, closing the pool at close, general property cleanup, and turning the gate off

                                                                                             16   before storms.
                                                                                             17
                                                                                             18                                                             09 / 21 / 2020
                                                                                                                                             DATED on ____________________
                                                                                             19
                                                                                             20                                        By:

                                                                                             21                                                    Shannon Truong
                                                                                             22
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